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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,
                                                 Case No. 1:20-cv-03010-APM
                       Plaintiffs,               HON. AMIT P. MEHTA

                 v.

GOOGLE LLC,
                        Defendant.



STATE OF COLORADO, et al.,
                                                 Case No. 1:20-cv-03715-APM
                        Plaintiffs,              HON. AMIT P. MEHTA

                 v.

GOOGLE LLC,
                        Defendant.




           DECLARATION OF JUAN A. ARTEAGA SUPPORTING
       BRIEF OF AMICUS CURIAE SAMSUNG ELECTRONICS CO., LTD.
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       I, Juan A. Arteaga, declare as follows:

       1.      I am an attorney duly licensed to practice law in the State of New York. I am a

partner in the law firm of Crowell & Moring LLP, which represents Amicus Curiae Samsung

Electronics Co., Ltd. (“Samsung”) in the above-captioned actions. I submit this declaration in

support of Samsung’s Amicus Brief in Support of Defendant’s Opposition to Certain Proposed

Remedies. Unless otherwise stated, the matters set forth below are based on my personal

knowledge and, if called as a witness, I could and would testify competently thereto.

       2.      Attached as Exhibit A is a true and correct copy of excerpts from the transcript of

the deposition of Samsung’s Head of Customer Experience Office, Jay Kim, which was

conducted on February 28, 2025 and was designated as Highly Confidential under the governing

Protective Order in the above-captioned actions.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge and belief.

       Executed on May 9, 2025, in New York, New York.



                                                            /s/ Juan A. Arteaga
                                                            Juan A. Arteaga




                                                 1
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                         EXHIBIT A
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1                       UNITED STATES DISTRICT COURT

 2                 FOR THE DISTRICT OF COLUMBIA
       _____________________________
 3     UNITED STATES OF AMERICA,     )
       et al.,                       )
 4                                  )
                                    )
 5               U.S. Plaintiffs,   ) Case No. 1:20-cv-03010-APM
                                    )
 6     v.                           )
                                    )
 7     GOOGLE LLC,                   )
                                    )
 8               Defendant.         ) Case No. 1:20-cv-0715-APM
       _____________________________)
 9     STATE OF COLORADO, et al.,   ) HON. AMIT P. MEHTA
                                    )
10               U.S. Plaintiffs,   )
                                    )
11     v.                           )
                                    )
12     GOOGLE LLC,                   )
                                    )
13     Defendant.                   )
       _____________________________)
14

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16                          ** CONFIDENTIAL **

17                    Videotaped Deposition of JAY KIM

18                       San Francisco, California

19                       Friday, February 28, 2025

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21

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23                      Reported Stenographically by

24                  Michael P. Hensley, RDR, CSR No. 14114

25


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                                                                                  2
1                     UNITED STATES DISTRICT COURT

 2                 FOR THE DISTRICT OF COLUMBIA
       _____________________________
 3     UNITED STATES OF AMERICA,     )
       et al.,                       )
 4                                  )
                                    )
 5               U.S. Plaintiffs,   ) Case No. 1:20-cv-03010-APM
                                    )
 6     v.                           )
                                    )
 7     GOOGLE LLC,                   )
                                    )
 8               Defendant.         ) Case No. 1:20-cv-0715-APM
       _____________________________)
 9     STATE OF COLORADO, et al.,   ) HON. AMIT P. MEHTA
                                    )
10               U.S. Plaintiffs,   )
                                    )
11     v.                           )
                                    )
12     GOOGLE LLC,                   )
                                    )
13     Defendant.                   )
       _____________________________)
14

15              Videotaped Deposition of JAY KIM, commencing at

16     the hour of 9:06 A.M. and concluding at the hour of

17     4:05 P.M. on Friday, February 28, 2025, at the

18     location of 3 Embarcadero Center, 26th Floor,

19     San Francisco, California 94111, before Michael

20     Hensley, Registered Diplomate Reporter, Certified

21     Shorthand Reporter No. 14114, in and for the State

22     of California.

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                                                                                  3
1      APPEARANCES:

 2     For the Plaintiff United States of America, et al.:

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                                                                                  4
 1     APPEARANCES (CONTINUED):

 2

 3     Also Present:

 4                  JINSUNG (STEVE) LEE,

 5                       IN-HOUSE COUNSEL - SAMSUNG

 6                  DEANE CARSTENSEN,

 7                       Remote A/V Monitor

 8                  JOAQUIN RAMIREZ,

 9                       Remote A/V Monitor

10                  ALEJANDRO ZAMORA RUIZ,

11                       Videographer

12

13     Present Remotely:

14                  CHRIS KNIGHT (FL)

15                  ZACHARY FUCHS

16                  DIAMANTE SMITH (TX)

17                  EMILY ZHAO (ATR)

18                  SEAN ONWUALO (CO)

19                  JULIA FRANCIS (DOJ)

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23              Q.   Why is that important to Samsung?

24              A.   Because I think that, you know, market is

25     very skewed to iOS, especially in U.S.                And so the


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                                                                                 20
 1     developer tend to work on iOS more than Android

 2     side, and I don't think that's healthy for the

 3     market.      We need more balance.

 4                   So I -- you know, it's -- you know, if

 5     consumer uses our phone and Instagram, the image is

 6     not clear, it's not, you know, how they want to

 7     post, it's not in a quality compared to Apple, then

 8     people start switching over to iOS; so we can't make

 9     that happen.      So we worked really closely with Meta

10     and even asking Google support -- Android team to

11     support to make sure that the platform is capable of

12     managing that.

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23              Q.   Generally speaking, is it your practice to

24     expect a share of the revenue from apps that you

25     preload on your devices?


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                                                                                 22
 1              A.   Yes.   It's -- it's not only our team but

 2     also service team have a sort of structure where

 3     when we preload our, you know, services -- our

 4     partner services on devices, we're providing

 5     distribution for them to be on our devices out of

 6     the box.

 7                   And we have a business model where, you

 8     know, depending on what kind of, you know,

 9     relationship or alignment product integration or a

10     level of how we are working together, we have all

11     the commercial sort of agreement with everybody.

12                   And it's very important for us because

13     Samsung, we don't control a platform.                  We don't have

14     a strong store.        We don't have strong service; so,

15     basically, we need to figure out how to maximize

16     our, you know, profit on our devices to reinvest and

17     continue to invest on hardware and platform and

18     everything that we do on our devices to keep up with

19     the competition.

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21              Q.   Thank you for clarifying that.

22                   In your 12 years of experience in the

23     mobile industry, is it standard for technology

24     companies like Samsung to expect a revenue share

25     from companies whose apps are preloaded on the


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                                                                                 24
 1     device?

 2                   ATTORNEY HERRMANN:         Objection.

 3     Foundation.

 4     BY ATTORNEY GREENBLUM:

 5              Q.   What was that?

 6              A.   I think it's a very common practice.

 7              Q.   And why do you think that is?

 8              A.   I think on the Android ecosystem, I think

 9     this is the, you know, the real estate we have to

10     maximize our, you know, business and, you know,

11     there's not many areas that we can actually make

12     profit because, you know, we're actually covering

13     from very low-end product to the high end.                     So,

14     basically, we're, you know, we're at 100-plus, you

15     know, price point to really high-end to, you know,

16     2,000 -- close to getting to 2,000 depending on the

17     product.

18              Q.   $2,000?

19              A.   Yes.   But I mean -- and but it's not --

20     you know, that's very high.            So, basically, the

21     common will be                                         or so.     So

22     we're covering very wide range, and also we're

23     covering global business.

24                   So for us to cover these models, we have

25     to have variety of chipsets, variety of --


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                                                                                25
 1                  (Clarification inquiry by The Court

 2                  Reporter.)

 3                  THE WITNESS:     No.     Variety of chipset and

 4     components and also, you know, operations, global --

 5     you know, global operations.

 6                  So, basically, the margin is very thin.

 7     So we need to figure out how to maximize our profit

 8     within our devices.

 9                  And, you know, this is one of the, sort

10     of, practice we have to, sort of, provide

11     distribution to actually maximize our -- in return,

12     getting a revenue share or any way we can to, you

13     know, maximize our profit.

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 2              A.      I think it's over -- over the couple of

 3     years, I think we were decreasing in the U.S.                     I

 4     think our position is weakening.

 5              Q.      Weakening?

 6              A.      Yeah.

 7              Q.      And what would -- why do you think that

 8     is?

 9              A.      I think it's more of --

10                      I think it has many things to do with --

11     because I think the services that -- Apple has

12     services such as, you know, iMessage, FaceTime,

13     AirDrop, -- these are very popular services in the

14     U.S.         And at the same phase, a very common,

15     functional feature that -- to communicate with your

16     friends and, you know, family.               But it's very

17     limited to iOS and, you know, if you're within

18     Android ecosystem, if you do a AirDrop, you can't

19     receive it, even though it's just a file transfer.

20                      iMessage, even though it's just a common

21     communication tool, you can't communicate to each

22     other.

23                      You know, FaceTime, it's common, you know,

24     videoconference, but you can't talk to.

25                      So, basically, I think, you know, people


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                                                                                29
 1     are more getting isolated in a way that if you're

 2     using Android phones, that you can't communicate

 3     with your friends and peers.

 4                  So, basically, that's one of the, you

 5     know, reason.     And then, you know, I think -- I

 6     think, you know, Apple has more -- more, sort of,

 7     position -- power against carriers in the U.S.; so I

 8     think they have a stronger presence in the retail

 9     front.

10                  And, you know, I think it's overall in the

11     U.S. where we're in a weaker position to compete.

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 3              Q.   Does Samsung make Google Search available

 4     on its smartphone -- on its smartphones in the

 5     United States?

 6              A.   Yes.

 7              Q.   Why?

 8              A.   I think, you know, to -- for -- on -- you

 9     know, if you look at our consumers, they -- you

10     know, one of the things that they do most is

11     searching.      And, you know, we want consumer to

12     search with -- on our phone, you know, very easily

13     with a very reliable service.            And I think Google

14     has the best service, and they're reliable.                   And

15     we've been working with, you know, our Android team

16     to see how we can, you know, make Search more --

17     if -- you know, intuitively in access and make it

18     easy to -- for consumer to use it and get the result

19     that's, you know, as best as possible as they can.

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 5              Q.   What's your assessment of the difference

 6     in reliability between Google Search and Bing

 7     search?

 8              A.   You know, I'm not, you know, expert in

 9     search, but I think the market share shows that how

10     people find Google Search more reliable or a better

11     product.

12                   And I think if you look at PC market, you

13     know, still, people find Google Search to, you know,

14     work as their primary, sort of, search engine.

15                   So I think the people see that they're

16     more accustomed to using Google services, and I

17     think it's because they -- they get the better

18     results.

19              Q.   The best results?

20              A.   Better results.

21              Q.   You mentioned that -- I think you said

22     still on PCs, users prefer Google.

23                   Can you explain what you mean by that.

24              A.   Windows PC has Bing and Edge as a default

25     service, but -- you know, I don't have exact number,


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 1     but I -- you know, I believe that people still use

 2     Google Search as, you know, primary search engine.

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                                                                                36
 1              Q.   And can you explain your recollection of

 2     what "New Bing" was.

 3              A.   So it's 2023, April.         So that's about five

 4     months after ChatGPT launched their service more

 5     publicly.      I think it was November 2022 but --

 6                   So, basically, if I into it, I remember

 7     Microsoft said they have a -- they're preparing a

 8     New Bing, and we ask what New Bing is.                And for me,

 9     it was very confusing because there's a Bing and

10     that's -- which is search.           And there's -- they

11     called it New Bing and wasn't sure it was AI's, you

12     know, service like ChatGPT or this is search related

13     AI.

14                   So we're, you know, sort of questioning

15     and asking what this was.

16                   And they were sort of not clear, at that

17     time, for me.      It wasn't clear for me whether

18     they're building this to become a, you know, ChatGPT

19     competitors or this was trying to make Search more

20     competitive for AI -- with AI technology.

21                   And, you know, you know, and also, why is

22     it called "New Bing"?        Are you consolidating the

23     service?      And, you know, we weren't sure.

24                   And we were just asking those questions,

25     and it was the first meeting that we had with them


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                                                                                37
 1     and they were just explaining the direction.                   But

 2     out of that meeting, you know, I wasn't sure whether

 3     this is more search related or generative AI related

 4     service.

 5                  They said they were figuring out, too,

 6     because there's so many things with, like, the

 7     technology was evolving so fast and nobody knew what

 8     was going to happen.       And it was more of a year

 9     where everybody was trying to figure out what this

10     is all about.

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23                   Did you think New Bing was a compelling

24     product for you to bring to Samsung users?

25              A.   At that time?


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                                                                                 40
 1              Q.   Yes.

 2              A.   No.    Because I wasn't sure on what exactly

 3     New Bing is all about because I -- you know, we

 4     asked many question whether this is Search or

 5     whether this is AI chatbot related service.                    So I

 6     wasn't sure.

 7                   And, you know, after the meeting, you

 8     know, we had continued discussion; but I can see

 9     them, they -- also their internal sort of direction

10     changed.

11                   Not only them.      I think it was also us.

12     You know, everybody was figuring out what to do with

13     this technology; so, you know, it was -- at that

14     time, it was -- I wasn't clear to have a really

15     clear picture of, "Oh, I should bring this because

16     it's competitive."        I don't think that was the case.

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 9              Q.   In your experience, which search engine

10     offers the best experience for users in the most

11     number of countries across the world?

12              A.   Google.

13              Q.   You mentioned that Microsoft's direction

14     changed on generative AI and search from when you

15     discussed New Bing.

16                   Can you describe what you meant by that.

17              A.   I think also their leadership changed from

18     2023 to 2024, you know, when we met.                   I think they

19     were also talked about cloud and also on device, but

20     now they're more focus on cloud.

21                   And at that time, they called it

22     "New Bing," but now they call it Copilot.                   So,

23     basically, I think it's not just Microsoft, but

24     every company been changing their strategy and

25     direction throughout, you know, last two years to


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                                                                                 42
 1     see how to keep up with the technology and also

 2     they're finding out a lot of new things every day

 3     what this can do.

 4                   So, basically, it was very natural for

 5     them to change the strategy.             So we were also

 6     adopting based on the progress of the technology.

 7              Q.   Mr. Kim, you're familiar with some of the

 8     remedies that the plaintiffs have proposed in this

 9     case; is that correct?

10              A.   Not 100 percent clear, but vaguely.

11              Q.   Okay.    Are you aware of some of the

12     proposals that the plaintiffs have made on

13     prohibitions that will be imposed on Google in this

14     case?

15              A.   If you specify, I can answer to that.

16              Q.   Sure.    Are you aware that the plaintiffs

17     proposed to prohibit Google from paying search

18     revenue share to Samsung?

19              A.   Yes.

20              Q.   How would that remedy affect Samsung?

21              A.   I think it will be a very --

22                   If you consider the amount -- the profit

23     that we have on the mobile, it's

24

25                                                                    And, you


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 1     know, all the benefits that we're providing to

 2     consumer for OS update, you know, security updates

 3     for, you know, close to seven years, and also

 4     providing new chipsets.

 5                   So, basically, we're making a lot of

 6     investment to make the latest technology come to our

 7     devices.      And the revenue share that we got from

 8     Google is -- you know, has a very, you know,

 9     important part of our -- sustaining our business to

10     reinvest and manage those, you know, the SKUs, the

11     price point that we're covering, the SKUs that we're

12     providing, and the customization we do for our

13     customers and partners.         It's all cost.

14                   And if we're not getting paid from Google

15     in the revenue share that we're getting currently, I

16     think it will probably make our position much weaker

17     to innovate and provide better, you know -- the

18     latest technology and better services to our

19     customer.

20                   So I think eventually we'll -- we might

21     face in a very difficult situation to continue our

22     business.

23              Q.   Do you have a sense of whether if --

24     strike that.

25                   You mentioned that your profit margin on


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                                                                                 44
 1     smartphones is                                   ; is that

 2     correct?

 3              A.   It's average all across all the lineups.

 4              Q.   All the lineups of smartphones?

 5              A.   Yes.

 6              Q.   Okay.    It's                              ?

 7              A.   I believe, 2024 it was

 8                   .

 9              Q.   If Samsung had to cover more of the costs

10     without revenue share from Google on Search, could

11     that impact the price of smartphones to end users?

12              A.   We can't sell a product in minus profit.

13     So, basically, you know, some of the product could

14     end up increasing prices or defeature our product to

15     manage the profit, which will make our position very

16     weaker in the market and especially in U.S.                    Then it

17     will be -- we'll be structurally disadvantaged

18     against Apple and, you know, it will be a purely

19     100 percent Apple market eventually.

20              Q.   Why couldn't Samsung make up lost revenue

21     share from Google by getting it from other search

22     engines or other companies?

23              A.   I don't think they have the, you know --

24     the willingness to pay that much of the revenue

25     share because -- I think for Google and Samsung,


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                                                                                45
 1     Android is very important platform to sustain the

 2     business, especially Samsung.

 3                  Other search business, I think they can

 4     manage their business without Android.                So I think

 5     the -- for us, it's more of a, you know, do or die

 6     situation where if we don't have a platform and if

 7     we don't have a market share, it's very difficult

 8     situation.

 9                  And I think Google as a platform provider,

10     I think they feel the same, that Android is very

11     important to balance the market.              But other

12     providers, I think, it's -- it's important for them

13     to be part of Search, but I think they have, you

14     know, other options to manage their business.

15                  And I don't know if they were willing to

16     pay that much of a, you know, commercial

17     agreement -- to strike a commercial agreement.

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 7              Q.   If Google weren't able to share the cost

 8     with Samsung of promoting and integrating Gemini on

 9     Android phones, how would that impact Samsung?

10                   ATTORNEY HERRMANN:         Objection.

11     Foundation.

12                   THE WITNESS:     So I was leading into that

13     because I need to do deep integration work, you

14     know, provide better chips to support the AI, put

15     resources to define what this service is all about,

16     how to bring the service better on Android to

17     compete with Apple.

18                   So we have to put a lot of resources to

19     make that work.        And, you know, this is part of the

20     revenue that we bring to reinvest to stay out ahead

21     in the technology where we want to be the number one

22     AI, you know, smartphone for the consumers' choice.

23                   So, basically, it's more of a reinvestment

24     to not only the product but also educate consumers

25     how to use a product and also get the retail ready


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                                                                                49
 1     to make sure that people, when they have Gemini on

 2     our devices, they understand how to use it.                   You

 3     need to train the field forces to make sure that

 4     they understand how they communicate to consumers.

 5                  So it's, you know, from a device, you

 6     know, everything from device chipset to, you know --

 7     to the point channel to consumer end, and then we

 8     have to communicate to the market.

 9                  So it's a lot of investment that we have

10     to make.     It's a new technology, new way of using

11     products; so, basically, it's a early-stage

12     investment to make sure that we can actually, you

13     know, bring this best technology to consumers.

14                  And that's -- the agreement that we have

15     with Google is to make sure that we do that.

16     BY ATTORNEY GREENBLUM:

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19              Q.   Mr. Kim, are you familiar with proposals

20     under which the plaintiffs would force Google to

21     sell Android?

22              A.   Yes.

23              Q.   And how would that affect Samsung?

24              A.   Again, I think we need a platform to

25     continue to innovate and compete with Apple.


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                                                                                51
 1                   I think Google has been investing heavily

 2     to make Android OS competitive and stay ahead and

 3     continue to innovate.        If -- if the Android is in

 4     the hand of other entity, depending on who that is,

 5     I don't -- I don't know if the entity, you know,

 6     will have, you know, expertise and resources and

 7     willingness to actually continue to provide this as

 8     a open ecosystem and also that, you know, industry

 9     continue to, you know, leverage to make the devices

10     and bring the latest sort of technology into the

11     devices.      And I think that will slow down.

12                   And also I don't know it will continue to

13     be an open ecosystem.        Android could become licensed

14     structure, and if that happens, then Samsung needs

15     to license the Android, which will, again, increase

16     the cost for us to sustain the business, which could

17     increase burden for us to -- either we have to, you

18     know, minimize a feature or raise the price; so it

19     will put our position much weaker against iOS.

20              Q.   When you say that a license could increase

21     your cost, can you explain -- do you have an example

22     of that happening?      Or can you sort of explain that.

23              A.   Windows is very simple example where we

24     pay license to bring Windows.            And also I don't know

25     if it's exactly the same, but European Commission,


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                                                                                52
 1     they ask Google for the different structure of

 2     licensing the Google services; so we're actually

 3     paying the license fee in the Europe, which became a

 4     very strong burden to us.

 5                    And then the number is increased --

 6     license fee was increased over the last, you know,

 7     years.       So it -- it's always, you know, very

 8     uncertainty that we have to face to manage the --

 9     you know, the products that we have to produce every

10     year.

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                                                                                57
 1     record.

 2                   THE VIDEOGRAPHER:       The time is 10:16 A.M.

 3     We are going off the record.

 4                   (A break was taken.)

 5                   THE VIDEOGRAPHER:       The time is 10:33 A.M.

 6     Pacific Time.      We're back on the record.

 7     BY ATTORNEY GREENBLUM:

 8              Q.   Mr. Kim, has Samsung chosen to make the

 9     Gemini application available on its smartphones?

10                   ATTORNEY HERRMANN:        Objection.      Form.

11                   THE WITNESS:    Yes.

12     BY ATTORNEY GREENBLUM:

13              Q.   What did Samsung choose to make Gemini

14     available on its smartphones?

15              A.   So we started to have Gemini on our phones

16     from S25 recent device.         We decided to bring

17     generative AI experience on our phones, but more --

18     providing more easy way to access and also more

19     competitive way to use the generative AI service on

20     Android on Galaxy, you know, compared to how iOS is

21     using generative AI.

22                   And we thought the Gemini service is the

23     best option that we have for S25 time frame.

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 8              Q.   You described Samsung's approach on AI

 9     compared to iOS.

10                   Can you explain what you meant by that.

11              A.   So on iOS, if you want to use Gemini or

12     ChatGPT, normally, you download the app from the

13     store, and then you use it.

14                   But if you're -- you want to use it by

15     integrating with the device, such as, you know,

16     using the side button, you have to have a sort of

17     integration and, you know, you have to have a R&D.

18     Engineers get together to make sure that it works

19     well.

20                   iOS focus on Siri, which is their own

21     service.      For Galaxy, for us, we announced at our

22     Unpacked on S25 announcement that we -- our

23     philosophical approach is openness and open

24     collaboration.      So, basically, we adopt -- we have

25     Bixby, which is our service.


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                                                                                59
 1                   (Clarification inquiry by The Court

 2                   Reporter.)

 3                   THE WITNESS:    -- as our service, but more

 4     specific towards device control.              But we wanted to

 5     adopt a generative AI type of service that could

 6     integrate fully with the platform and chipset and

 7     everything that -- do with the product -- our

 8     devices, Galaxy devices.         And, you know, it takes

 9     more than a -- six month or so to actually work on

10     engineering work on both sides to make that work.

11                   And, you know, we brought Gemini on our

12     devices to have a -- access from the side button.

13     Also make sure that when you ask Gemini, the

14     platform understands to work with many services

15     across many different apps so that when you make a

16     one command, it can go across different apps to sort

17     of take an action for the consumer instead of going

18     into the apps one by one.

19                   So in order to do those work, we needed to

20     work with Gemini so that we bring the best and the

21     latest technology to our devices.

22     BY ATTORNEY GREENBLUM:

23              Q.   You mentioned that Samsung announced an

24     approach of open collaboration on AI.

25                   Did I understand that correctly?


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                                                                                60
 1              A.   Yes.

 2              Q.   And so can you explain what that means for

 3     AI.

 4                   Does that mean you envision the

 5     possibility of loading multiple AI applications?

 6                   ATTORNEY HERRMANN:        Objection.      Leading.

 7                   THE WITNESS:    So it's not just AI.             It's

 8     more of a Samsung mobile, sort of, philosophical

 9     approach to how we're embracing the ecosystem,

10     working with many chipset providers, many component

11     providers, many service providers.               You know, not

12     just limiting to Samsung first-party services and

13     first-party features.

14                   We adopt what's best in the industry so

15     that we provide, you know, the best and latest

16     technology on every aspect of the, you know, sort

17     of, segment of the services, whereas Apple would

18     just focus on their native apps, native services.

19                   So it's not just AI.         So we're just

20     continuing that philosophical approach to AI.                   And

21     so, basically, we need to define what the, you know,

22     experiences look like with the Android team to make

23     sure that everything works on the device.

24                   And at the same time, we work Gemini, we

25     work with -- we discuss with OpenAI, we discuss with


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                                                                                 61
 1     Microsoft, and even starting to discuss with Meta AI

 2     so that -- how do we bring these, you know, latest,

 3     you know, sort of, advanced-technology AI companies

 4     to -- you know, for consumers to use them in the

 5     best way they can on our Galaxy devices.

 6     BY ATTORNEY GREENBLUM:

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17              Q.     Did OpenAI approach you, or did you

18     approach OpenAI?

19              A.     We -- I approached them in July, which was

20     about one month later after they had announcement

21     with Apple; so they announce at WWDC, an Apple

22     event, where they're integrating their service to

23     Siri.        And, you know, I also wanted to see if they

24     have, you know, appetite to work with us.

25                     So we reach out, and we met in July, I


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 1     believe.

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11              Q.   Did Samsung commit to making Gemini the

12     only AI application on its phones?

13              A.   No.   Like I said, we're open -- sort of,

14     collaboration approach.         So when everybody's ready

15     and when platform is ready, when everything -- we're

16     ready to engage.       And we already have been

17     discussing with other partners too.

18                   It's a very complicated process to

19     integrate AI services on devices because we're not

20     just preloading them as a independent service.                   It

21     has to work closely with our hardware, our 1UI,

22     which is our UX.       And then also understand consumer

23     journey, what they want to use for AIs.

24                   And this has to be very competitive to

25     providing consumer with, you know, meaningful


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                                                                                 64
 1     feature or services that you use every day.                    And it

 2     has to have a very easy access so that they can get

 3     access easily, and it has to be safe and private so

 4     that they are, you know, comfortable using it.

 5                     So in order to make all these happen, it

 6     requires a lot of engineering work, very collective

 7     planning work, engineering work.               And also, you

 8     know, aligning the philosophical approach to it

 9     because everybody have different ideas about how

10     their service or product should be, sort of, exposed

11     to consumers and how do you communicate that to the

12     market?

13                     So it's a massive, you know, sort of,

14     process that you have to go through to make this

15     work.        So it's not a couple months of work.              It's

16     actually a long period of time to work.                 You have to

17     align with the leadership.            You have to align with

18     engineering work.        You have to align with UX to make

19     this come to life.

20              Q.     Do you think -- strike that.

21                     Why do you think OpenAI focused on Samsung

22     and hadn't -- strike that.

23                     Why do you think OpenAI had focused on

24     integration with Apple such that you had to reach

25     out to OpenAI?


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                                                                                  65
 1                      ATTORNEY HERRMANN:       Objection.

 2     Foundation.

 3                      THE WITNESS:   You know, I can't speak for

 4     them.         But if I guess, Apple has majority of the

 5     market position in the U.S.             It's very natural that

 6     all the developers are headed to Apple for their

 7     attention, have more, sort of, exposure within, you

 8     know, iOS.

 9                      And I think Apple also needed generative

10     AI sort of service on Siri where Siri is not capable

11     of doing so I think they naturally had a good sort

12     of reason for both to work.

13                      But I don't know if that's the best

14     experience for consumers because consumer have to

15     always switch back and forth and that's very

16     confusing and not a easy way to access generative AI

17     service.

18                      And, you know, I -- I believe our approach

19     is, you know, beneficial for consumers in a way.                      If

20     they want to use ChatGPT in a better way, they

21     should just access them directly instead of going

22     through other AI services.

23     BY ATTORNEY GREENBLUM:

24              Q.     Can you explain.       I'm not sure I'm

25     following, Mr. Kim, the difference in your mind


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                                                                                  66
 1     between the Bixby approach to AI and the Siri

 2     approach to AI.

 3                    Can you explain that to me again.

 4              A.    So I think the Apple is first party

 5     oriented approach.

 6              Q.    Okay.

 7              A.    So they have to have Siri in front and

 8     consumer have to start talking to Siri with and if

 9     Siri cannot answer the question, that's area that

10     covers the generative AI, then they toss it to

11     ChatGPT.

12                    On Galaxy, we let consumer make a choice

13     what service they want to use.               And if they want to

14     use Gemini, they can get access to Gemini, you know,

15     easily.       If they want use Bixby, they can.

16                    And we visioning to have ChatGPT and other

17     services to come to our device; and if consumer

18     makes that choice to use it, they should use it like

19     a first-party services.

20              Q.    Got it.   Thank you.

21              A.    So we're providing more options for our

22     consumer to use the services that they wish to use.

23                    ATTORNEY GREENBLUM:         Can you turn to

24     Exhibit 2 in front of you, Mr. Kim.

25                    And for the record, Exhibit 2 is Bates


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                                                                                67
 1     labeled GOOG-DOJ-33743363.

 2                   (Exhibit 2 was marked for identification.)

 3                   ATTORNEY GREENBLUM:        It is entitled

 4     "Gemini Commercial Agreement."

 5     BY ATTORNEY GREENBLUM:

 6              Q.   Have you seen this document before,

 7     Mr. Kim?

 8              A.   Yes.

 9              Q.   And did you sign this document?

10              A.   Yes.

11              Q.   Can you explain to the Court.            What was

12     the purpose of this agreement?

13              A.   This is to bring Gemini services to our

14     devices so that when consumer wants to use Gemini

15     with a one-click access, they can access from the

16     button and, also, basically, they can use a Gemini

17     as a first -- like, as first native apps, and also,

18     build a platform.

19                   We call it cross-actions, which it means

20     that you can ask Gemini to do a task that go across

21     many different services.         And we're building that

22     platform together to make Gemini work.

23                   And also, make Gemini work best on our

24     devices.      And in return, for us to invest to bring

25     Gemini on your devices with engineering work and,


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                                                                                68
 1     you know, all the work that we have to do to

 2     communicate and educate consumers.

 3                   In return, we're getting commercial

 4     benefit from integration of the Gemini.

 5              Q.   Can you turn to Section 2.1 of the

 6     agreement.      That's on page 6.        Let me know when

 7     you're there.

 8              A.   Yes.

 9              Q.   Do you see that Section 2.1 refers to "on

10     a device-by-device basis"?

11              A.   Yes.

12              Q.   Can you explain your understanding,

13     Mr. Kim, of what it means to preload on a device by

14     device -- or to integrate on a device-by-device

15     basis.

16              A.   So, basically, we have a -- our option to

17     implement Gemini on our devices by device.                    So,

18     basically, we make a choice.            If you want to

19     implement Gemini experience on one device to

20     another, and you know it's more of a option to make

21     that decision.

22              Q.   In your understanding -- strike that.

23                   I take it the Samsung plan to launch the

24     S26 in 2026?

25              A.   Yes.


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                                                                                69
 1              Q.   Under this agreement and your

 2     understanding, could Samsung choose not to load

 3     Gemini on the S26?

 4              A.   That's our option.

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19              Q.   Can you explain what Nano is.

20              A.   In general term it's -- Nano is on-device

21     solution to enable generative AI services without

22     going to cloud directly.         So everything is processed

23     within the device.

24              Q.   Is Nano the only on-device model on

25     Samsung smartphones?


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                                                                                   70
 1              A.     No.    We have our own on-device solution.

 2              Q.     And what is that called?

 3              A.     Gauss.

 4              Q.     Is that G-a-u-s-s?

 5              A.     Yes.

 6              Q.     Is there room on the S25 for a third

 7     on-device model?

 8              A.     Depending on how you, you know, describe

 9     what room is, but this affects chipset and memory;

10     but, yes, there's a room.             But it -- it has to have

11     a very good reason to have another third on-device

12     model.        And if that helps our product to be

13     competitive, definitely will consider that.

14              Q.     Can you turn to Section 4.7, Mr. Kim.

15              A.     Yes.

16              Q.     It's on page 9.

17                     Do you see the -- that section, it's

18     entitled "No Exclusivity"?

19              A.     Yes.

20              Q.     What's your understanding of the purpose

21     of this provision?

22              A.     So, basically, we're -- Samsung has a, you

23     know, option to work with any other generative AI

24     companies for our devices so that basically we have

25     a, you know, freedom to do so.


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                                                                                  78
 1                   Okay.

 2                   (Sotto voce discussion among counsel.)

 3     BY ATTORNEY GREENBLUM:

 4              Q.   Yeah.    Are you ready, Mr. Kim?

 5              A.   Yeah.    I'm ready.

 6              Q.   So this is an email that you received

 7     from -- am I pronouncing it correctly?                  Sung Song?

 8              A.   Yes.

 9              Q.   And what is Mr. or Ms. Song's

10     responsibilities or role at Samsung?

11              A.   So he's the group leader for Group 1 that

12     manages Google relationship.

13              Q.   Okay.    And this attaches minutes of a

14     meeting at Samsung that you were at on June 9th,

15     2023; is that correct?

16              A.   Correct.

17              Q.   Can you turn to the bottom of the first

18     page of the minutes on page 9091, in the English

19     version.

20              A.   9091.

21              Q.   And I'll caution you that this is a

22     machine-translated version; so I can't say it's an

23     exactly accurate translation, but you're welcome to

24     look at the Korean version if you like.

25              A.   Mm-hmm.


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                                                                                 79
 1              Q.   Well, and do you see at the bottom it

 2     says:

 3                       [As Read]      Overall with respect to AI

 4                   it is necessary to take three approaches.

 5              A.   Yes.

 6              Q.   Can you explain what the different

 7     approaches were that were discussed in these

 8     minutes.      Obviously if you need to look at the

 9     Korean version to answer that question, by all

10     means, do.

11              A.   So I'm just reading Korean.              So,

12     basically, it says, general, we should approach with

13     under the three principles when we are talking about

14     AI.      So we should not limit who we work with.

15                   So we should work with -- it says Google

16     and Microsoft and others, partners; so, basically,

17     not limited to these two but many other partners.

18     And should have a -- you know, should not limit to

19     any limitation.        We should open to any possibilities

20     when we're working on AI because nobody knows what's

21     going to happen and the technology was evolving so

22     fast; so the point was to actually have a very open

23     minded, work with, you know, many other, you know,

24     companies, and should not limit your thinking

25     compared to what we had been doing before.                     So this


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 1     is a new thing.

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21              Q.   Was there uncertainty in your mind about

22     how AI might monetize on your devices?

23              A.   This is 2023, June; so, basically, it was

24     a time where everybody was scrambling around to see

25     how this will evolve.        And, you know, they don't --


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                                                                                   81
 1     at that time, people didn't know how this will be

 2     monetized, whether it will be subscription models or

 3     app-based model or any other sort.                  So, basically,

 4     we're trying to -- trying to study which direction

 5     the market is taking and try to see how we can sort

 6     of understand the market to, you know, prepare for

 7     the trend.

 8              Q.      I take it that this memo long predates,

 9     by, like, a year, when you signed -- by more than a

10     year when you signed agreements with Google for

11     Gemini; correct?

12              A.      Yes.   It's almost -- almost -- more than a

13     year.

14              Q.      So this was sort of more at the beginning

15     of your decision-making process around AI?

16              A.      Yes.   This is a 2023, June; so, basically,

17     we're getting -- really deep into getting ready for

18     S24.         But June which means that in a month or so

19     we're coming up with our second half flagships which

20     is fold-and-flips.          And everybody's focus on that

21     product launch.

22                      But at the same time, AI was becoming a

23     one of the most important topics for us; so we were

24     making a weekly meetings internally to understand

25     where the AI technology's taking and how that is


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                                                                                 82
 1     impacting the industry.

 2              Q.   Do you have more certainty today about how

 3     AI will monetize?

 4              A.   Compared to that time, yes.              I think in

 5     general it's going to subscription model and

 6     everybody is taking that approach currently.                    I

 7     think that's most clear part of the business model

 8     that they have.

 9              Q.   Can you -- in the machine translation on

10     page 2 of the minutes, it says:

11                       [As Read]      It is necessary to work

12                   together to create a differentiation

13                   compared to Company A.

14                   Do you see that?

15              A.   So --

16              Q.   "It is necessary to work together."

17              A.   So --

18                   Yeah.    So this -- this -- I think the

19     point this was making was that in order for AI to

20     work, we need to have really deep understanding how

21     this, you know, works with operating system.                    So we

22     should actually lead that discussion in engineering

23     part of the world and how we can keep up with the

24     differentiation or how do we make it better against

25     Apple to see if AI could be the sort of item that we


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                                                                                 83
 1     can leverage to compete with Apple in a better way.

 2              Q.   Did Apple integrate AI into Siri before

 3     Samsung integrated AI into Bixby and Galaxy?

 4              A.   Can you repeat that again.               Just to make

 5     sure I understand.

 6              Q.   Yeah.    Let me clarify my question.

 7                   In terms of launched phones, did Apple

 8     integrate AI into Siri before Samsung integrated AI

 9     into Galaxy and Bixby?

10                   ATTORNEY HERRMANN:         Objection.

11     Foundation.

12                   THE WITNESS:     We had our Bixby for a long

13     time on our devices, but I don't think the Bixby is

14     categorized as a generative AI service at point.                     So

15     other than that, I think S25 is the first device

16     that we launched with generative AI as a integrated

17     service.

18                   Apple announced at -- before S25 on Siri

19     integration with ChatGPT.

20                   ATTORNEY GREENBLUM:         Okay.        You can put

21     that document aside.

22                   I'm going to mark Exhibit 5.

23                   (Exhibit 5 was marked for identification.)

24                   ATTORNEY GREENBLUM:         Exhibit 5 is Bates

25     labeled SEA-REM-0057290.


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                                                                                91
 1              Q.   If you skip down, it says:

 2                       [As Read]     Samsung clarified that

 3                   collaboration is possible, targeting 2025.

 4                   Do you see that?

 5              A.   Yes.

 6              Q.   Can you describe for the Court what

 7     discussions you had with Mr. Lightcap about that?

 8              A.   I think it's saying from their perspective

 9     that whether Samsung was open to discuss with them,

10     and they had a perception that we were tightly

11     coupled with Google services, but we clarified that

12     that's not the case and, you know, we can deeply

13     integrate OpenAI services on our devices, and we are

14     willing to discuss that.

15              Q.   Okay.

16              A.   So it was more clarification from both

17     sides.

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                                                                                  92
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 3                   ATTORNEY GREENBLUM:          Okay.        I'm going to

 4     mark --

 5                   You can put that document aside, Mr. Kim.

 6                   I'm going to mark Exhibit 6.

 7                   (Exhibit 6 was marked for identification.)

 8                   ATTORNEY GREENBLUM:          Sorry.        For some

 9     reason, Karl, I only have one of them.

10                   Exhibit 6 is Bates labeled

11     SEA-DOJ-REM-0060168.

12                   THE WITNESS:      I'm ready.

13     BY ATTORNEY GREENBLUM:

14              Q.   So, Mr. Kim, this email contains some

15     talking points for a call that you and Mr. Chomet

16     were to have with Mustafa Suleyman and Jon Tinter at

17     Microsoft?

18              A.   Yes.

19              Q.   And the call was to be on July 25th, 2024?

20              A.   Yes.

21              Q.   Mr. Kim, I'll just caution you, be careful

22     not to keep your hand in front of your mouth.

23              A.   Oh, okay.    Sorry.

24              Q.   It will be harder for the court reporter.

25                   Who is Mr. Chomet?


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                                                                                  93
 1              A.   He was head of customer experience office

 2     at that time.

 3              Q.   In the talking points, do you see under

 4     "Intro," there's a reference to "Collaborated with

 5     Google for CTS/Gemini"?

 6              A.   The second?

 7              Q.   Yeah.

 8              A.   Oh, yeah.    Yes.

 9              Q.   What is CTS?

10              A.   It's a Circle to Search.

11              Q.   And what is Circle to Search?

12              A.   So on S24, we work with Google to bring

13     new way of search.        And if you are looking at a

14     screen on our devices, you can actually circle an

15     image or a text or anything that you see, and then

16     Google Search will respond based on the context of

17     the image and provide the search experience.                     So,

18     basically, you don't have to text to actually ask

19     for the things that you are -- you want to search.

20     You just have a one-circle gesture to get the search

21     results.

22              Q.   Has Microsoft ever brought a product

23     feature like Circle to Search to Samsung?

24              A.   No.

25              Q.   If you look down, it says under


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                                                                                94
 1     "Multi-AI":

 2                       [As Read]     Other AI assistants can

 3                   coexist with Gemini.

 4                   Do you see that?

 5              A.   Yes.

 6              Q.   And it describes different access points

 7     that would be available to Microsoft.

 8              A.   Yes.

 9              Q.   And if you look to the attachment that

10     says "Microsoft Term Sheet Options"?

11              A.   Yes.

12              Q.   Let me know when you're there.

13              A.   Yeah, I'm there.

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                                                                                96
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 2              Q.   Can you look back to the talking points

 3     document?

 4              A.   Yes.

 5              Q.   Do you see?    The first bullet under

 6     multi-AI direction says:

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24                   ATTORNEY GREENBLUM:        Okay.

25                   You can put that document aside.


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                                                                                97
 1                   I'm handing you Exhibit 7, which is Bates

 2     labeled SEA- -- sorry, Karl -- SEA-DOJ-REM-0062170.

 3                   (Exhibit 7 was marked for identification.)

 4                   THE WITNESS:    Yes.

 5     BY ATTORNEY GREENBLUM:

 6              Q.   So this is an email you received from

 7     Moses Choi on August 10th, 2024?

 8              A.   Yes.

 9              Q.   Did I pronounce his name correctly?

10              A.   Moses.

11              Q.   Moses.   So, no, I didn't pronounce it

12     correctly.      You've got to give a truthful answer,

13     Mr. Kim.

14                   Can you describe Mr. Choi's role at

15     Samsung.

16              A.   So he reports to Jaeheon Jeong, who is the

17     leader of Group 2.

18              Q.   Mr. Choi attaches term sheets for

19     Microsoft and OpenAI.

20                   Do you see that?

21              A.   Yes.

22                   ATTORNEY HERRMANN:        Objection.

23     Foundation.

24                   ATTORNEY GREENBLUM:        What's the basis for

25     the objection?


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                                                                                  98
 1                   ATTORNEY HERRMANN:          It's not clear that

 2     Microsoft or OpenAI prepared these term sheets.

 3                   ATTORNEY GREENBLUM:          I'll clarify.         Thank

 4     you.

 5     BY ATTORNEY GREENBLUM:

 6              Q.   These are -- in Exhibit --

 7                   ATTORNEY POPOFSKY:          7.

 8     BY ATTORNEY GREENBLUM:

 9              Q.   -- 7, these are term sheets that Samsung

10     prepared for transmission to Microsoft and OpenAI?

11              A.   Yes.

12              Q.   Okay.

13              A.   But this one is specifically for Copilot;

14     so --

15              Q.   Yes.

16              A.   And there's a OpenAI on the last sheet;

17     right?

18              Q.   Yes.

19              A.   Yeah.

20              Q.   So there's a term sheet, just for the

21     record, at SEA-DOJ-REM0062172.               That is a draft

22     Samsung term sheet for Microsoft; correct?

23              A.   Correct.

24              Q.   And at 62174, there's a draft Samsung term

25     sheet for OpenAI; correct?


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                                                                                  99
 1              A.   Correct.

 2              Q.   Did you approve these term sheets going

 3     across to these two counterparties?

 4              A.   Yes.

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16                   (Sotto voce discussion among counsel.)

17                   ATTORNEY GREENBLUM:          I'm going to mark

18     Exhibit 8.

19                   (Exhibit 8 was marked for identification.)

20     BY ATTORNEY GREENBLUM:

21              Q.   Exhibit 8 is Bates labeled

22     SEA-DOJ-REM-0056660.

23                   This is an email from Jaeheon Jeong to you

24     and others at Samsung dated September 3rd, 2024.

25              A.   Ready.


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                                                                                100
 1              Q.   Okay.    This document, this -- strike that.

 2                   Exhibit A includes a vision document from

 3     OpenAI at 56663; is that correct?

 4              A.   Yes.

 5              Q.   And if you turn to the second page of that

 6     vision document, do you see that it describes a

 7     timeline?

 8              A.   Yes.

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11              Q.     Have you ever talked to Perplexity about

12     integrating their services on Samsung devices?

13              A.     I have not.

14              Q.     Have you asked your team members on --

15     with respect to AI, to consider Perplexity for a

16     preload on Samsung devices?

17              A.     I think we discuss everything as an

18     option, but I don't think we seriously considered

19     Perplexity as our go-to generative AI service.

20              Q.     And why is that?

21              A.     I don't know if Perplexity covers global

22     scale.        Global scale language.        And we have not seen

23     the scale of the service, and I don't have a data

24     to -- whether it's going to be sort of integrating

25     Perplexity service on our devices makes our devices


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                                                                               103
 1     competitive.

 2                  I don't have that confidence yet.

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25                             EXAMINATION


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25                  Can you turn to those two term sheets near


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                                                                                106
 1     the -- well, actually let's start with the Microsoft

 2     Copilot term sheet ending in -172 near the end of

 3     the exhibit.

 4                   Do you see that?

 5              A.   Yes.

 6              Q.   Do you know if this was ever sent to

 7     Microsoft?

 8              A.   Yes.    I believe so.

 9              Q.   Who sent it?

10              A.   I believe it's Joshua Jeong -- oh, no.

11     Jaeheon Jeong.

12              Q.   Jaeheon Jeong?

13              A.   Yes.

14              Q.   And when did they send it?

15              A.   I don't recall exact date but similar time

16     after --

17                   Sometime after this.

18              Q.   Okay.    And could you turn to the next page

19     entitled "Partnership Proposal:               OpenAI and

20     Samsung" --

21              A.   Yes.

22              Q.   -- ending in -174.

23              A.   Yes.

24              Q.   And do you know if this was ever sent to

25     OpenAI?


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                                                                                107
 1              A.   Yes, I believe so.

 2              Q.   And who sent it?

 3              A.   It's either Jaeheon Jeong or Jim.

 4              Q.   Okay.    You can set that aside, thank you.

 5              A.   Okay.

 6              Q.   And, Mr. Kim, near the end of

 7     Mr. Greenblum's examination, you mentioned a meeting

 8     you recently had with Meta?

 9              A.   Yes.

10              Q.   Who asked for that meeting?

11              A.   They asked for the meeting that -- they're

12     also getting ready for Meta AI, and they asked if we

13     can have a meeting.        So I had a meeting this Monday.

14              Q.   And when did you schedule that meeting?

15              A.   Probably sometime in February, early

16     February.

17              Q.   Sorry to interrupt.         Go ahead.

18              A.   So they said they were getting ready.                 I

19     think that they wanted to have a meeting sometime

20     after S25 launched.

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                                                                               149
 1     strike that.

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                                                                               151
 1                  ATTORNEY GREENBLUM:         Objection to the

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 8                  THE WITNESS:     It should be the same with

 9     rest of the world, but I think it's more critical in

10     the U.S. because our position in U.S. is much weaker

11     than anywhere else in the world.              So, you know --

12     you know, we need a lot of, you know, market --

13     go-to-market, sort of, strong, sort of, message to

14     the market to make our product aware, have more

15     familiarity with our product and have a very strong

16     stories around it.

17                  So in the U.S., we have the weakest

18     position, and, you know, we're losing the battle; so

19     I think the impact will be stronger in the U.S.

20     BY ATTORNEY HERRMANN:

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19              Q.   Was Samsung concerned that losing payments

20     from Google would impact its operation in the United

21     States?

22              A.   Yes.   Because we have to continue to

23     reinvest to compete against Apple.               And I think I

24     mentioned that our position in the U.S. is really

25     weak and we need to have a bigger investment to


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                                                                               214
 1     raise our awareness in the U.S.; so there's a lot of

 2     investment that we have to make.

 3              Q.   Does Samsung compete with Motorola in the

 4     United States?

 5              A.   I don't -- you know, we focus on Apple

 6     because we're playing at the premium segment, and

 7     Apple is all premium segment, and that's where the

 8     U.S. market is mainly residing.              But we also -- you

 9     know, we also play in a lower segment to provide

10     options for the U.S. customers, and, you know, those

11     are less margin, and we have to take care of that.

12     And, basically, that actually increases the cost for

13     us.

14                   So all the, sort of, revenue that we get

15     from Google is supporting to actually have a wider

16     range of price points, you know, a variety of form

17     factors, have a new technology, and, you know, apply

18     chipsets from many different providers.

19                   So the operation cost is much higher for

20     us compared to, you know, Apple.              And, you know, we

21     compete also with Pixel.         So, you know, we're

22     actually -- you know, in the sales side, we're

23     fighting a pretty tough battle in the U.S.

24

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                                                                               223
 1     of gradual rollout.

 2                   Even us, it's S24, but we didn't roll out

 3     to all our devices at the same time because we have

 4     to see whether this service works properly on

 5     specific device, and then when we're comfortable, we

 6     have to test other device to roll out.

 7                   So it's -- we also taking the gradual

 8     approach.

 9     BY ATTORNEY HERRMANN:

10              Q.   Is it on the S25 now, Circle to Search?

11              A.   Yes now -- Circle to Search is everywhere

12     now.

13              Q.   Has Samsung studied how often users use

14     Circle to Search?

15              A.   They use -- I don't know how often, how

16     quickly, or how frequently.           But I think -- out of

17     all the users that we have, I think people use about

18                        of the people use it.

19              Q.   That's of people --

20              A.   People who own our phones.

21              Q.   And that's -- even one use counts as that?

22              A.   Yeah.

23              Q.   Okay.

24                   Do you see the second row, the second

25     column, it starts with                                ?


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